          Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 1 of 14




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-00324 (TNM)
         v.                                    :
                                               :
DANIELLE NICOLE DOYLE,                         :
                                               :
                 Defendant.                    :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits this sentencing memorandum in

connection with the above-captioned matter. For the reasons set forth herein, the government

requests that this Court sentence Danielle Doyle to two months of home confinement, a

probationary term of three years, 1 60 hours of community service, and $500 in restitution.

    I.        Introduction

         The defendant, Danielle Doyle, participated in the January 6, 2021, attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred law enforcement officers, and resulted in more than one million

dollars’ worth of property damage. The government is requesting a sentence of two months of

home confinement and a probationary term of three years in this case.

         The government recognizes that Danielle Doyle did not personally engage in or espouse

violence or property destruction; however, Doyle entered the Capitol by climbing through a broken




1
  The plea agreement states that the offense of conviction in this case carries a term of supervised
release. This is inaccurate. As this is a petty offense, the offense of conviction does not carry a
term of supervised release. See 18 U.S.C. § 3583(b)(3).
                                                   1
          Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 2 of 14




window and subsequently stayed in the Capitol building for at least 24 minutes. Capitol CCTV

footage from inside the building appears to show Doyle chanting near or yelling at a law

enforcement officer. Also, Doyle photographed the destruction that occurred on January 6,

including individuals climbing the scaffolding on the West Front of the building, individuals

entering the Capitol building through a broken window, and individuals in military-style clothing

inside the Capitol. Finally, she texted an open-source video from January 6, taken inside the

Capitol and in which she appears, to another individual more than a month after the riot.

         The defendant stands before this Court to be sentenced on a misdemeanor conviction, but

her conduct on January 6, like the conduct of scores of other defendants, took place in the context

of a large and violent riot that relied on numbers to overwhelm law enforcement, breach the

Capitol, and disrupt the proceedings. But for her actions alongside so many others, the riot likely

would have failed.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 24 ¶¶ 1-7. As this Court knows, a riot cannot occur without rioters, and

each rioter’s actions – from the most mundane to the most violent – contributed, directly and

indirectly, to the violence and destruction of that day. With that backdrop, we turn to the

defendant’s conduct and behavior on January 6.

                Danielle Doyle’s Role in the January 6, 2021, Attack on the Capitol

         On January 6, 2021, Danielle Doyle entered the U.S. Capitol building at approximately

2:23 p.m., by climbing through a broken window located next to the Senate Wing Door. Prior to

entering the building, Doyle walked by individuals holding signs with phrases such as “THE



                                                 2
         Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 3 of 14




STORM IS HERE.” She also witnessed individuals climbing statutes and the scaffolding on the

west front of the building, and she saw the torn fabric on the exterior of the scaffolding.

       After witnessing this destruction, Doyle nevertheless entered the Capitol through the

broken window near the Senate Wing Door at about 2:23 p.m. This window had been breached

by other rioters about 10 minutes before she entered. Doyle remained in the Capitol building for

at least 24 minutes. A still from the CCTV footage is below. Doyle is circled in red.




       After entering, Doyle walked upstairs and entered the Rotunda, where she walked around

from about 2:25 to 2:26 p.m. At approximately 2:28 p.m., Doyle entered the Statuary Hall

Connector, where she and a group of other rioters were stopped by a law enforcement officer.

Doyle then appears to chant or yell in the direction of the officer, but she left the area without

otherwise engaging with the officer. A screenshot of Doyle chanting or yelling in the direction of

the law enforcement officer is below. Doyle is circled in red, and the officer is circled in blue.




                                                 3
         Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 4 of 14




       After, Doyle walked back through the Rotunda and descended the Supreme Court Chamber

stairs at 2:31 p.m. From about 2:32 to 2:33 p.m. Doyle walked through the Capitol Visitor Center

and Orientation Lobby. Doyle then walked through the Crypt from 2:47 to 2:48 p.m.

       Photographs from Doyle’s own phone demonstrate that she was a firsthand witness to the

destruction at the U.S. Capitol. For instance, Doyle photographed individuals climbing the

scaffolding on the West Front of the building, and she photographed the torn fabric on the exterior

of the scaffolding. She also took photographs inside the Capitol building, including of individuals

entering the Capitol building through what appears to be the same broken window near the Senate

Wing Door that Doyle herself entered. In addition, she photographed individuals dressed in

military-style clothing in the Rotunda. Also, on or about January 25, 2021, she texted a third-party

individual, “I literally can’t do anymore Q shit. Brandon Stracka was arrested today. He didn’t



                                                 4
         Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 5 of 14




even go in the capitol. This is fucking insane.” 2 A few weeks later, she texted a 15-second clip

from an open-source video of herself from inside the Capitol building to the same individual.

These messages do not appear to be public messages.

       Finally, Doyle has admitted that she knew she did not have permission to enter the Capitol

building and that she acted with the intent to parade, demonstrate, and picket within the building.

See ECF 24 ¶ 10.

                              Danielle Doyle’s Allocution Statement

       Prior to the sentencing, defense counsel provided Doyle’s allocution statement to the

government. In her allocution, Doyle states that January 6 began as an “exciting” day and that she

later felt “disconnected.” Specifically, Doyle characterizes January 6, 2021, as a day where

“[h]undreds of thousands of Americans came together in support of our President and the America

that we love. . . . It was exciting and full of energy.” But, after, she heard the “sound of violence”

and felt a “shifting energy,” and she became “disconnected to what was happening.” She recalls

that she only began to “recognize[e] right from wrong” after “[s]omeone picked up a stanchion to

break something” and she reminded that individual “that’s not what we’re here for.”

       Doyle also states that she is “truly sorry for the decision [she] made that day and for the

fear and sleepless nights that is has caused [her] family [sic].” She further states, “I acknowledge

my wrongdoings and take full and absolute responsibility for them.” The government has also

reviewed Doyle’s letters of support, in consideration of a just and necessary sentence.




2
 Although the message is not dated, Stracka was arrested on January 25, 2021. See 21-mj-134-
RMM.
                                                  5
            Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 6 of 14




                                    The Charges and Plea Agreement

           On February 24, 2021, Danielle Doyle was charged by complaint with violating 18 U.S.C.

§§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On February 25, 2021, she was

arrested in Oklahoma City, Oklahoma. On April 28, 2021, Doyle was charged by Information

with the same crimes. On July 14, 2021, she pleaded guilty to Count Four of the Information,

which charged a violation of 40 U.S.C. § 5104(e)(2)(G). In the plea agreement, Doyle agreed to

pay $500 in restitution. 3

    III.      Statutory Penalties

           The defendant now faces sentencing on a single count of 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment and a fine of up to $5,000. As this offense is a Class B Misdemeanor, the

Sentencing Guidelines do not apply. 18 U.S.C. § 3559; U.S.S.G. § 1B1.9.

    IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

           In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct.

§ 3553(a)(6). We therefore turn to these factors.




3
 The plea agreement mistakenly states that the defendant will pay restitution to the U.S.
Department of the Treasury. The Architect of the Capitol is the correct payee.
                                                   6
         Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 7 of 14




            A. The Nature and Circumstances of the Offense

        The attack on the U.S. Capitol on January 6, 2021, is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of the

only times in our history when the building was occupied by hostile participants. By its very

nature, the attack defies comparison to other events. So, too, does the conviction this defendant

now faces. Picketing, demonstrating, or parading at the Capitol as part of the riot on January 6 is

not like picketing at the Capitol on any other day, without other rioters present. To portray this

crime as routine unjustly downplays what actually happened.

        While each defendant should be sentenced based on their individual conduct, this Court

should note that each individual person who entered the Capitol on January 6 did so under the most

extreme of circumstances. As a person entered the Capitol, they would—at a minimum—have

crossed through numerous barriers and barricades and heard the throes of a mob. Depending on

the timing and location of their approach, they also may have observed extensive fighting with law

enforcement and likely would have smelled chemical irritants in the air. No rioter was a mere

tourist that day.

        Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical facts, to include: (1) whether, when, and how the defendant entered

the Capitol building; (2) whether the defendant engaged in any violence or incited violence;

(3) whether the defendant engaged in any acts of destruction; (4) the defendant’s reaction to acts

of violence or destruction; (5) whether during or after the riot, the defendant destroyed evidence;

(6) the length of the defendant’s time inside of the building, and exactly where the defendant

traveled; (7) the defendant’s statements in person or on social media; (8) whether the defendant



                                                7
         Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 8 of 14




cooperated with, or ignored, law enforcement; and (9) whether the defendant otherwise exhibited

evidence of remorse or contrition. While these factors are neither exhaustive nor dispositive, they

help to place each individual defendant on a spectrum as to their fair and just punishment.

       While the above list is not exhaustive, a review of some of the factors is helpful in this

context. For example, Danielle Doyle entered the Capitol building at 2:23 p.m. by climbing

through a broken window located next to the Senate Wing Door. Doyle entered approximately ten

minutes after other rioters first breached the Senate Wing door and the nearby window. When

Doyle entered the Capitol through the window, there were clear signs of damage. In fact, the

window through which Doyle entered the Capitol was not a normal entry point; the window had

been broken by rioters.

       In addition, Doyle remained inside the building for at least 24 minutes. After entering,

Doyle walked upstairs and entered the Rotunda, where she walked around from about 2:25 to 2:26

p.m. At approximately 2:28 p.m., Doyle proceeded to the Statuary Hall Connector, and she and a

group of other rioters were stopped by a law enforcement officer. While in the Statutory Hall

Connector, Doyle appears to have been chanting or yelling in the direction of the officer. Doyle

then left the area without any further interaction with the law enforcement officer. She walked

back through the Rotunda and descended the Supreme Court Chamber stairs at 2:31 p.m.

Thereafter, from about 2:32 to 2:33 p.m. Doyle walked through the Capitol Visitor Center and

Orientation Lobby. Then, Doyle walked through the Crypt from 2:47 to 2:48 p.m. Ultimately,

Doyle walked through three levels of the U.S. Capitol building.

        With respect to use of social media, Doyle used Telegram to communicate with another

individual about the events on January 6, 2021. Around January 25, 2021, she texted a third-party

individual, “I literally can’t do anymore Q shit. Brandon Stracka was arrested today. He didn’t



                                                8
         Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 9 of 14




even go in the capitol. This is fucking insane.” On February 17, 2021, she sent an open-source

video in which she appears, taken from inside the Capitol building on January 6, 2021, to the same

individual. These messages do not appear to be public messages.

       The government has no evidence that Danielle Doyle engaged in any violence or

destruction of property, nor that she destroyed evidence after the riot. But Doyle was a firsthand

witness to destruction at the Capitol. In fact, Doyle photographed much of the destruction on

January 6, including individuals climbing on scaffolding, individuals climbing through windows

to enter the building, and individuals dressed in military-style clothing. Rather than allow this

conduct to deter the defendant from entering the building, she entered through the same broken

window she photographed and then remained in the building for at least 24 minutes. Also, in her

allocution statement, Doyle describes the attempted destruction of property that she witnessed.

Specifically, she provides, “Someone picked up a stanchion to break something. I gently took

their arm, looked into their eyes, and said, ‘that’s not what we’re here for.’” The government has

no evidence, however, of this interaction.

       Finally, Doyle has shown some remorse for her actions. In a written allocution statement,

provided to the government before this sentencing, Doyle stated that she is “truly sorry for the

decision [she] made that day” and “acknowledge[s] [her] wrongdoings.” On the other hand, in her

only interview with law enforcement, which occurred upon her arrest, Doyle ended the interview

when law enforcement asked questions about Doyle entering the Capitol building. While the

government wants to credit the defendant’s remorse in her allocution statement, we also recognize

that Doyle has not been fully transparent with law enforcement and that we have no support for

Doyle’s remorse, other than her representations in her allocution statement. To boot, it is

respectfully difficult to rationalize how someone so “disconnected” from the violence, the



                                                9
        Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 10 of 14




destruction, or even the scaffold climbers made the conscious decision to enter the building.

Nevertheless, we take into consideration her apology.

       Thus, the nature and circumstances of the offense, as well as the aggravating factors

described above, suggest that a purely probationary sentence is inappropriate in this case and

support a sentence of two months home confinement and a probationary term of three years.

           B. The History and Characteristics of the Defendant

       As set forth in the PSR, Danielle Doyle’s criminal history is limited to traffic infractions

and an arrest for Driving Under the Influence in November 2002, with the disposition unclear.

Dkt. 26 ¶¶ 27-28. If the Sentencing Guidelines did apply to her offense of conviction, she would

have no criminal history points. USSG § 4A1.2(c)(2). Accordingly, she would be in Criminal

History Category I. USSG §§ 4A1.1, 5A. Danielle Doyle holds stable employment and appears

to be in compliance with her conditions of release. Dkt. 26. This factor supports a more lenient

sentence than would be the case otherwise.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 4 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration, as it will in most cases arising out of the riot on

January 6, 2021, including in misdemeanor cases. See United States v. Joshua Bustle and Jessica



4
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”),
available at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
                                                 10
        Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 11 of 14




Bustle, 21-cr-238-TFH, Sent. Tr. at 3 (“As to probation, I don't think anyone should start off in

these cases with any presumption of probation. I think the presumption should be that these

offenses were an attack on our democracy and that jail time is usually -- should be expected.”).

            D. The Need for the Sentence to Afford Adequate Deterrence

        Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B), (C); United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010). In terms of specific deterrence, while only time will tell, the defendant has offered her

apologies to the government and the Court, and continues to have stable employment. This would

lean towards a disposition more favorable to the defendant.

        The demands of general deterrence, on the other hand, weigh overwhelmingly in favor of

incarceration, as they will for nearly every case arising out of the violent riot at the Capitol. Indeed,

general deterrence may be the most compelling reason to impose a sentence of incarceration. For

the violence at the Capitol on January 6 was cultivated to interfere, and did interfere, with one of

the most important democratic processes we have: the transfer of power. As noted by Judge Moss

during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

        [D]emocracy requires the cooperation of the governed. When a mob is prepared to
        attack the Capitol to prevent our elected officials from both parties from performing
        their constitutional and statutory duty, democracy is in trouble. The damage that
        [the defendant] and others caused that day goes way beyond the several-hour delay
        in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.



                                                   11
         Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 12 of 14




         The gravity of these offenses demand deterrence. This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.

         In short, the question of deterrence, here, is multi-faceted. The demands of general

deterrence favor incarceration, but the need for specific deterrence may be met in this case with a

sentence of home confinement. The conduct of certain defendants – although not this defendant –

may also warrant actual incarceration to serve as an appropriate deterrent.

            E. The Need to Avoid Unwarranted Sentencing Disparities

         As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, to assault

on law enforcement officers, to conspiracy to corruptly interfere with Congress. Each offender

must be sentenced based on their individual circumstances, but with the backdrop of January 6 in

mind. Moreover, each offender’s case will exist on a spectrum that ranges from conduct meriting

a probationary sentence to crimes necessitating years of imprisonment. The misdemeanor

defendants will generally fall on the lesser end of that spectrum, but misdemeanor breaches of the

Capitol on January 6, 2021 were not minor crimes. A probationary sentence should not necessarily

become the default. Indeed, the government invites the Court to join Judge Lamberth’s admonition

that “I don’t want to create the impression that probation is the automatic outcome here because

it’s not going to be.” United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021

at 19.



                                                 12
        Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 13 of 14




        While the number of sentenced defendants is low, we have already begun to see meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous and, thus, treated more severely in terms of their conduct and subsequent punishment.

Those who trespassed, but whose conduct involved aggravating factors, merit serious

consideration of active incarceration, while those who trespassed, but engaged in less aggravating

factors, deserve a sentence more in line with minor incarceration or home confinement. After a

review of the applicable § 3553 factors, the government believes that the defendant’s conduct falls

in the latter category. Regardless, Doyle entered the Capitol building through a broken window,

remained in the building for at least 24 minutes, appears to have chanted at or yelled at or near a

law enforcement officer, was a firsthand witness to some of the destruction at the Capitol and

photographed it, and texted a video clip from inside the Capitol on January 6 to another individual

more than a month after the riot. Thus, Doyle’s case is not comparable to those who obtained a

purely probationary sentence and a sentence of home confinement is appropriate.

   V.      Conclusion

        Sentencing here requires that the Court carefully balance the various factors set forth in 18

U.S.C. § 3553(a). As detailed above, some of those factors support a sentence of incarceration

and some support a more lenient sentence. Balancing these factors above, the government

recommends that this Court sentence Danielle Doyle to two months of home confinement, three

years of probation, 60 hours of community service, and $500 in restitution. Such a sentence

protects the community, promotes respect for the law, and deters future crime by imposing

restrictions on Doyle’s liberty because of her behavior, while still recognizing her early acceptance

of responsibility. Additionally, such a sentence recognizes that some but not all the factors




                                                 13
        Case 1:21-cr-00324-TNM Document 27 Filed 09/21/21 Page 14 of 14




enumerated in Section IV.A., above, apply to this case. It also allows continued monitoring of

Danielle Doyle in the event of future participation in similar conduct.


                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              ACTING UNITED STATES ATTORNEY

                                      By:      /s/ Laura E. Hill
                                              LAURA E. HILL
                                              Trial Attorney, Detailee
                                              NV Bar No. 13894
                                              175 N Street, NE
                                              9th Floor
                                              Washington, D.C. 20002
                                              202-598-3962
                                              laura.e.hill@usdoj.gov




                                                14
